                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )
        Plaintiff,                                )
                                                  )
 v.                                               )    No. 3:11-cr-00194-1
                                                  )
 JESSIE LEE ALLEN,                                )
                                                  )
        Defendant.                                )

                         MEMORANDUM OPINION AND ORDER

       Jessie Lee Allen’s motion for compassionate release has been fully briefed. (Doc. No. 2161

2164 and 2166.) After pleading guilty to conspiracy to distribute and possess with intent to

distribute crack cocaine, cocaine, and marijuana, and possession of firearms in furtherance of drug

trafficking, Mr. Allen is currently serving a 180-month term of imprisonment. (Doc. No. 1765.)

       He has exhausted his administrative remedies because his attorney sent a letter to the

warden of his facility on July 1, 2020 requesting his compassionate release, to which the Warden

did not respond. (Doc. No. 2161-1 at 1.) His attorney’s letter is legally sufficient because an

attorney is her client’s agent, and the Bureau of Prison’s own regulations allow for compassionate

release to be requested by another on an inmate’s behalf. 28 C.F.R. § 571.61(b); New York v. Hill,

528 U.S. 110, 115 (2000) (quoting Link v. Wabash R. Co. R. Co., 370 U.S. 626, 634 (1962)).

       The Court may grant compassionate release to a defendant suffering from “a serious

physical or medical condition . . . that substantially diminishes the ability of the defendant to

provide self-care” in prison. U.S.S.G. § 1B1.13 n.1(A)(ii); see 18 U.S.C. § 3582(c)(1)(A). As

recently as July 29, 2020, Mr. Allen’s medical providers note that he is a “33-year-old male patient




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with no significant medical history,” aside from a right shoulder injury that required physical

therapy and back pain from playing basketball. (Doc. No. 2163 at 1, 3, 10.)

       Mr. Allen asserts that he should be released due to a heart murmur that increases his risk

for serious COVID-19 related complications. (Doc. No. 2161 at 3.) However, there is no medically

verified evidence that he suffers a heart murmur. At a July 2, 2020 medical exam, he had no heart

palpitations or other cardiovascular abnormalities. (Doc. No. 2163 at 3.) The Defendant bears the

burden of proving circumstances entitling him to compassionate release, United States v. Ebbers,

432 F. Supp. 3d 421, 426 (S.D.N.Y. 2020), and Mr. Allen has offered no medical support of a

serious physical or medical condition or a particular susceptibility to COVID-19, see United States

v. Coles, 455 F. Supp. 3d 419, 425 (E.D. Mich. 2020) (denying compassionate release to defendant

who presented no evidence of a confirmed medical diagnosis). The general realities of prison life

in a pandemic, and number of cases at his facility alone, do not suffice for compassionate release.

See United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).

       Accordingly, his Supplemental Motion for Compassionate Release (Doc. No. 2161) is

DENIED.

       IT IS SO ORDERED.


                                             ____________________________________
                                             WAVERLY D. CRENSHAW, JR.
                                             CHIEF UNITED STATES DISTRICT JUDGE




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